                                      May 23, 2024


Ms. Molly C. Dwyer
Clerk of the Court
United States Court of Appeals
for the Ninth Circuit
95 Seventh Street
San Francisco, CA 94103

      Re:    Hecox v. Little, Case Nos. 20-35813, 20-35815
             Response to Supplemental Authority under Rule 28(j)

Dear Ms. Dwyer:

        I write in response to Hecox’s letter citing two out-of-circuit authorities, B.P.J.
ex rel. Jackson v. W. Va. State Bd. of Educ., 98 F.4th 542 (4th Cir. 2024) and Kadel v.
Folwell, 100 F.4th 122 (4th Cir. 2024) (en banc). Though this panel has since
withdrawn its opinion, neither B.P.J. nor Kadel should have any bearing on a new
opinion. Both were wrongly decided, conflict with Supreme Court precedent, and
create a split among the circuits. This Court should not add to the confusion.

       In B.P.J., the Fourth Circuit doubled down on errors it made in Grimm v.
Gloucester County School Board, 972 F.3d 586 (4th Cir. 2020). Its circular logic
contradicts what the Eleventh Circuit held in Adams ex rel. Kasper v. School Board
of St. Johns County, 57 F.4th 791 (11th Cir. 2022) (en banc). And even accepting the
court’s conclusion, B.P.J. expressly distinguished the middle-school plaintiff there
from athletes like Hecox who “have gone through puberty and experienced elevated
levels of circulating testosterone.” 98 F.4th at 565.

       Similarly, Kadel was wrongly decided. Not once did the court address Dobbs v.
Jackson Women’s Health Organization, 597 U.S. 215 (2022), which unequivocally
held that, absent discriminatory intent, “[t]he regulation of a medical procedure that
only one sex can undergo does not trigger heightened constitutional scrutiny,” id. at
236–37. The Fourth Circuit assumed that a law that “targets something closely or
exclusively associated with a protected class … alone support[s] a presumption of
discriminatory intent.” Kadel, 100 F.4th at 176 (Richardson, J., dissenting). But
that’s wrong. Biology is “not a stereotype,” and biological differences have been
“repeatedly recognized” by the Supreme Court. Adams, 57 F.4th at 809. They are the
reason “intermediate scrutiny applies in sex-discrimination cases in the first place.”
Id.
      In its reissued opinion, this Court should avoid the Fourth Circuit’s mistakes
and prevent unnecessary conflict with the Supreme Court and other circuits.

                                      Sincerely,

                                      s/Cody S. Barnett
                                      Cody S. Barnett
                                      Counsel for Intervenors-Appellants




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                        CERTIFICATE OF COMPLIANCE

      I certify that the body of this letter contains 316 words and complies with
Federal Rule of Appellate Procedure 28(j).


                                                s/ Cody S. Barnett
                                                Cody S. Barnett
                                                ALLIANCE DEFENDING FREEDOM
                                                44180 Riverside Pkwy
                                                Lansdowne, VA 20176
                                                (571) 707-4655
                                                cbarnett@ADFlegal.org

                                                Counsel for Intervenors-Appellants




                           CERTIFICATE OF SERVICE

       I certify that this letter was electronically filed with the Clerk of the Court for
the United States Court of Appeals for the Ninth Circuit on May 23, 2024, using the
appellate CM/ECF system, all participants in the case are registered CM/ECF
users, and service will be accomplished by the appellate CM/ECF system.


                                         s/Cody S. Barnett
                                         Cody S. Barnett
                                         Counsel for Intervenors-Appellants




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